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IN THE UNITED sTATEs DISTRICT cOURT
FOR THE wEsTERN DISTRICT 011 TENNESSEE 05 AUG 3| AH |D= 38

WESTERN DIVISION IHOMAS M
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,.. W/DC ‘ ‘ tPHtS
UNITED STA'I`ES OF AMERlCA,

»t¢

Plaintiff,

*

vs. No. 05-20308-D

PATRICK D. MAXWELL,

Defendant.

ORDER GRANTING PARTIES’ JOINT MOTION
TO TRANSFER MATTER

It is hereby ORDERED that the parties’ joint motion to transfer the instant matter to the
Honorable J. Daniel Breen, U.S. District Court Judge, who is presiding over the earlier case in

which the defendant was indicted, Case No. 03-20169-B, is hereby GRANTED.

DONE at Memphis, Tennessee, this ,& day of @Q£OOS.

 

 

  

Thts document entered on the docket sheet ln
with ama 55 and/or az(b} FFtch on ` ‘ -

ile COURT - wEsRNTE D's'TRCT 0 TNNESSEE

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Honorable Bernice Donald
US DISTRICT COURT

